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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                    ***
      UNITED STATES OF AMERICA,
4
                           Plaintiff,
5                                                        2:11-cr-00347-KJD-VCF
      vs.                                                ORDER DIRECTING DEFENDANT DAVID
6     DAVID A. LITWIN,                                   A. LITWIN TO REPORT TO PRETRIAL
                                                         SERVICES
7                           Defendant.
8
            Before the Court is David Litwin’s Emergency Motion for Pre-Trial Release Pending
9
     Retrial/Motion to Reopen Detention (ECF No. 763).
10
            No timely response having been filed as required in this court’s order entered on November 5,
11
     2020. (ECF No. 773).
12
            Accordingly,
13
            IT IS HEREBY ORDERED that, upon release from FCI Terminal Island by the Bureau of Prison
14
     (“BOP”), Defendant David A Litwin must travel to Las Vegas using the airline ticket provided by BOP.
15
            IT IS FURTHER ORDERED that immediately upon his arrival in Las Vegas, but in any event not
16
     later than noon, Wednesday, November 11, 2020, Defendant David A. Litwin must report to District of
17
     Nevada Pretrial Services Office, 333 Las Vegas Blvd. South, Las Vegas, Nevada 89101.
18
            DATED this 6th day of November, 2020.
19
                                                              _________________________
20                                                            CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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